                Case 23-56969-lrc                 Doc 1     Filed 07/24/23 Entered 07/24/23 15:38:51                             Desc Main
                                                            Document      Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hatch and Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Georgia Tree Company
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1695 Noble Drive NE                                             P.O. Box 15578
                                  Atlanta, GA 30306-3141                                          Atlanta, GA 30333
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 23-56969-lrc                Doc 1          Filed 07/24/23 Entered 07/24/23 15:38:51                                 Desc Main
                                                                 Document      Page 2 of 35
Debtor    Hatch and Company, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 23-56969-lrc                     Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                 Desc Main
                                                                    Document      Page 3 of 35
Debtor    Hatch and Company, Inc.                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 23-56969-lrc      Doc 1         Filed 07/24/23 Entered 07/24/23 15:38:51                    Desc Main
                                                     Document      Page 4 of 35
Debtor   Hatch and Company, Inc.                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 23-56969-lrc             Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                Desc Main
                                                            Document      Page 5 of 35
Debtor    Hatch and Company, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 24, 2023
                                                  MM / DD / YYYY


                             X   /s/ Stephen Thomas Hatch                                                 Stephen Thomas Hatch
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Paul Reece Marr GA Bar #                                              Date July 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 6075 Barfield Road
                                 Suite 213
                                 Sandy Springs, GA 30328-4402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
           Case 23-56969-lrc                Doc 1         Filed 07/24/23 Entered 07/24/23 15:38:51                            Desc Main
                                                          Document      Page 6 of 35




Fill in this information to identify the case:

Debtor name         Hatch and Company, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 24, 2023                   X /s/ Stephen Thomas Hatch
                                                           Signature of individual signing on behalf of debtor

                                                            Stephen Thomas Hatch
                                                            Printed name

                                                            CFO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-56969-lrc          Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                         Desc Main
                                                            Document      Page 7 of 35

 Fill in this information to identify the case:
 Debtor name Hatch and Company, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                GEORGIA, ATLANTA DIVISION
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Live Oak Banking                                    accounts,                                          $1,975,446.54                $234,553.68             $1,740,892.86
 Company                                             equipment,
 James S. Mahan III;                                 inventory, general
 CEO                                                 intangibles,
 1741 Tiburon Drive                                  chattel paper,
 Wilmington, NC                                      instruments, 2015
 28403                                               Dodge Ram VIN
                                                     #-0298
 Duffy Companies,                                    seller note                                                                                               $330,000.00
 LLC
 Attn: Mary
 Guaracino
 6280 Polo Drive
 Cumming, GA 30040
 Bank of America                                     corporate credit                                                                                          $114,348.26
 PO Box 660441                                       card
 Dallas, TX
 75266-0441
 American Express                                    corporate credit                                                                                            $54,718.96
 PO Box 981535                                       card
 El Paso, TX
 79998-1535
 Wex Bank                                            fuel card                                                                                                     $2,387.39
 PO Box 639
 Portland, ME 04104
 Live Oak Banking                                    accounts,                                              $67,346.21                  Unknown                   Unknown
 Company                                             equipment,
 James S. Mahan III;                                 inventory, general
 CEO                                                 intangibles,
 1741 Tiburon Drive                                  chattel paper,
 Wilmington, NC                                      instruments
 28403




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
               Case 23-56969-lrc                                Doc 1              Filed 07/24/23 Entered 07/24/23 15:38:51                                                        Desc Main
                                                                                   Document      Page 8 of 35
 Fill in this information to identify the case:

 Debtor name            Hatch and Company, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           234,553.68

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           234,553.68


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,102,792.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           501,454.61


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,604,247.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 23-56969-lrc               Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                 Desc Main
                                                         Document      Page 9 of 35
Fill in this information to identify the case:

Debtor name         Hatch and Company, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of America                                   savings account                       7880                                    $11,000.68




          3.2.     Bank of America                                   checking                              2932                                    $21,750.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $32,750.68
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
           Case 23-56969-lrc                Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                             Desc Main
                                                         Document     Page 10 of 35
Debtor       Hatch and Company, Inc.                                                         Case number (If known)
             Name


          11a. 90 days old or less:                     17,203.00       -                                   0.00 = ....                  $17,203.00
                                       face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                        42,661.73       -                           42,661.73 =....                            $0.00
                                       face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                           $17,203.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used    Current value of
                                                                            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

39.       Office furniture
          miscellaneous office furniture and furnishings                              Unknown                                             $1,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          computers, printer, and related equipment                                   Unknown                                             $1,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $2,000.00
          Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 2
           Case 23-56969-lrc                Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                       Desc Main
                                                        Document     Page 11 of 35
Debtor       Hatch and Company, Inc.                                                   Case number (If known)
             Name



44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2008 Ford F-650 Chipper Truck SN/VIN
                   -0664                                                        Unknown                                           $65,000.00


          47.2.    2015 Dodge Ram VIN #-0298                                    Unknown                                           $20,000.00


          47.3.    International Chipper truck                                  Unknown                                           $15,000.00


          47.4.    trailers and large equipment                                 Unknown                                           $82,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          handheld equipment                                                    Unknown                                              $600.00



51.       Total of Part 8.                                                                                                   $182,600.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 3
           Case 23-56969-lrc                Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                    Desc Main
                                                        Document     Page 12 of 35
Debtor       Hatch and Company, Inc.                                                       Case number (If known)
             Name


      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 4
              Case 23-56969-lrc                         Doc 1           Filed 07/24/23 Entered 07/24/23 15:38:51                                        Desc Main
                                                                        Document     Page 13 of 35
Debtor          Hatch and Company, Inc.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $32,750.68

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $17,203.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $2,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $182,600.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $234,553.68           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $234,553.68




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
             Case 23-56969-lrc                     Doc 1         Filed 07/24/23 Entered 07/24/23 15:38:51                                  Desc Main
                                                                 Document     Page 14 of 35
Fill in this information to identify the case:

Debtor name         Hatch and Company, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Live Oak Banking
2.1                                                                                                                   $1,975,446.54               $234,553.68
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              accounts, equipment, inventory, general
      James S. Mahan III; CEO                      intangibles, chattel paper, instruments, 2015
      1741 Tiburon Drive                           Dodge Ram VIN #-0298
      Wilmington, NC 28403
      Creditor's mailing address                   Describe the lien
                                                   security agreement and financing statements
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/11/2019                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7009
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Live Oak Banking
2.2                                                Describe debtor's property that is subject to a lien                   $67,346.21                 Unknown
      Company
      Creditor's Name                              accounts, equipment, inventory, general
      James S. Mahan III; CEO                      intangibles, chattel paper, instruments
      1741 Tiburon Drive
      Wilmington, NC 28403
      Creditor's mailing address                   Describe the lien
                                                   security agreement and financing statements
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/8/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7007

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
              Case 23-56969-lrc                   Doc 1          Filed 07/24/23 Entered 07/24/23 15:38:51                               Desc Main
                                                                 Document     Page 15 of 35
Debtor       Hatch and Company, Inc.                                                               Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Oakmont Capital Holdings
2.3                                                                                                                          $60,000.00             $65,000.00
       LLC                                         Describe debtor's property that is subject to a lien
       Creditor's Name                             2008 Ford F-650 Chipper Truck SN/VIN -0664
       Joe Leonard, CEO
       600 Willowbrook Lane; Ste
       601
       West Chester, PA 19382
       Creditor's mailing address                  Describe the lien
                                                   Equipment Finance Agreement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       on or about 3/7/2022                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3016
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,102,792.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       5

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        U.S. Small Business Admin.
        GA District Office                                                                                   Line   2.1
        233 Peachtree Street NE; #300
        Atlanta, GA 30303

        U.S. Small Business Admin.
        GA District Office                                                                                   Line   2.2
        233 Peachtree Street NE; #300
        Atlanta, GA 30303




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
             Case 23-56969-lrc                   Doc 1         Filed 07/24/23 Entered 07/24/23 15:38:51                                           Desc Main
                                                               Document     Page 16 of 35
Fill in this information to identify the case:

Debtor name        Hatch and Company, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          2370 Justin LLC                                                      Contingent
          Attn: Sarah Guaracino, Manager                                       Unliquidated
          2370 Justin Trail                                                    Disputed
          Alpharetta, GA 30004
                                                                            Basis for the claim:    notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $54,718.96
          American Express                                                     Contingent
          PO Box 981535                                                        Unliquidated
          El Paso, TX 79998-1535                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    corporate credit card
          Last 4 digits of account number    1003
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $114,348.26
          Bank of America                                                      Contingent
          PO Box 660441                                                        Unliquidated
          Dallas, TX 75266-0441                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    corporate credit card
          Last 4 digits of account number    1385
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $330,000.00
          Duffy Companies, LLC                                                 Contingent
          Attn: Mary Guaracino                                                 Unliquidated
          6280 Polo Drive                                                      Disputed
          Cumming, GA 30040
                                                                            Basis for the claim:    seller note
          Date(s) debt was incurred 3/8/2019
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                          21149
             Case 23-56969-lrc                  Doc 1         Filed 07/24/23 Entered 07/24/23 15:38:51                                           Desc Main
                                                              Document     Page 17 of 35
Debtor       Hatch and Company, Inc.                                                                Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,387.39
          Wex Bank                                                             Contingent
          PO Box 639                                                           Unliquidated
          Portland, ME 04104                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    fuel card
          Last 4 digits of account number   2487
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Wex Bank
          1 Hancock Street                                                                          Line     3.5
          Portland, ME 04101
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                     501,454.61

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        501,454.61




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
            Case 23-56969-lrc               Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                 Desc Main
                                                         Document     Page 18 of 35
Fill in this information to identify the case:

Debtor name       Hatch and Company, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            month to month vehicle
           lease is for and the nature of        equipment storage
           the debtor's interest

               State the term remaining                                             McFarlane Land Ent. North LLC
                                                                                    Alpharetta 400 Storage
           List the contract number of any                                          PO Box 1078
                 government contract                                                Suwanee, GA 30024




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
          Case 23-56969-lrc                Doc 1      Filed 07/24/23 Entered 07/24/23 15:38:51                               Desc Main
                                                      Document     Page 19 of 35
Fill in this information to identify the case:

Debtor name      Hatch and Company, Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Duffy                       Attn: Mary Guaracino                                      Live Oak Banking                   D   2.1
          Companies, LLC              6280 Polo Drive                                           Company                            E/F
                                      Cumming, GA 30040
                                                                                                                                   G
                                      Standby Creditor's Agreement




   2.2    Sheika Lorraine             1695 Noble Drive NE                                       Bank of America                    D
          Hatch                       Atlanta, GA 30306                                                                            E/F       3.3
                                                                                                                                   G




   2.3    Sheika Lorraine             1695 Noble Drive NE                                       Oakmont Capital                    D   2.3
          Hatch                       Atlanta, GA 30306                                         Holdings LLC                       E/F
                                                                                                                                   G




   2.4    Sheika Lorraine             1695 Noble Drive NE                                       Live Oak Banking                   D   2.1
          Hatch                       Atlanta, GA 30306                                         Company                            E/F
                                                                                                                                   G




   2.5    Sheika Lorraine             1695 Noble Drive NE                                       Live Oak Banking                   D   2.2
          Hatch                       Atlanta, GA 30306                                         Company                            E/F
                                                                                                                                   G



Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
          Case 23-56969-lrc            Doc 1      Filed 07/24/23 Entered 07/24/23 15:38:51                       Desc Main
                                                  Document     Page 20 of 35
Debtor    Hatch and Company, Inc.                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Stephen Thomas           1695 Noble Drive NE                                 American Express                   D
          Hatch                    Atlanta, GA 30306                                                                      E/F   3.2
                                                                                                                          G




  2.7     Stephen Thomas           1695 Noble Drive NE                                 Oakmont Capital                    D   2.3
          Hatch                    Atlanta, GA 30306                                   Holdings LLC                       E/F
                                                                                                                          G




  2.8     Stephen Thomas           1695 Noble Drive NE                                 Live Oak Banking                   D   2.1
          Hatch                    Atlanta, GA 30306                                   Company                            E/F
                                                                                                                          G




  2.9     Stephen Thomas           1695 Noble Drive NE                                 Live Oak Banking                   D   2.2
          Hatch                    Atlanta, GA 30306                                   Company                            E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
             Case 23-56969-lrc              Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                Desc Main
                                                        Document     Page 21 of 35



Fill in this information to identify the case:

Debtor name         Hatch and Company, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $531,975.77
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,779,559.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,405,128.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 23-56969-lrc               Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                        Desc Main
                                                         Document     Page 22 of 35
Debtor       Hatch and Company, Inc.                                                            Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             American Express                                      various                          $17,096.44                Secured debt
             PO Box 981535                                                                                                    Unsecured loan repayments
             El Paso, TX 79998-1535                                                                                           Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other corporate credit card
                                                                                                                         payments

      3.2.
             Bank of America                                       various                          $15,020.00                Secured debt
             PO Box 660441                                                                                                    Unsecured loan repayments
             Dallas, TX 75266-0441                                                                                            Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other corporate credit card
                                                                                                                         payments

      3.3.
             Duarte Tree Service LLC                               various                         $114,164.23                Secured debt
             5160 Prancing Pass                                                                                               Unsecured loan repayments
             Cumming, GA 30040                                                                                                Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.4.
             HRH Trees LLC                                         various                            $9,628.00               Secured debt
             1125 Oak Brook Way N.E.                                                                                          Unsecured loan repayments
             Atlanta, GA 30319                                                                                                Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.5.
             Wex Bank                                              various                            $9,715.12               Secured debt
             PO Box 639                                                                                                       Unsecured loan repayments
             Portland, ME 04104                                                                                               Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other corporate fuel card
                                                                                                                         payments


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
             Case 23-56969-lrc               Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                     Desc Main
                                                          Document     Page 23 of 35
Debtor      Hatch and Company, Inc.                                                                Case number (if known)



    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
    debt.

          None

      Creditor's name and address                       Description of the action creditor took                         Date action was                  Amount
                                                                                                                        taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                 Nature of case               Court or agency's name and                  Status of case
             Case number                                                             address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address               Description of the gifts or contributions                  Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and              Amount of payments received for the loss                   Dates of loss              Value of property
      how the loss occurred                                                                                                                                lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred                Dates                    Total amount or
               the transfer?                                                                                                                               value
               Address




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
              Case 23-56969-lrc              Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                   Desc Main
                                                         Document     Page 24 of 35
Debtor        Hatch and Company, Inc.                                                           Case number (if known)



               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Paul Reece Marr, P.C.
               6075 Barfield Road
               Suite 213
               Sandy Springs, GA                         $11,738.00 ($10,000.00 retainer + $1,738.00                   6/7/2023 -
               30328-4402                                Petition filing fee)                                          6/27/2023                 $11,738.00

               Email or website address
               paul.marr@marrlegal.com

               Who made the payment, if not debtor?
               Stephen Hatch


      11.2.    Paul Reece Marr, P.C.
               6075 Barfield Road
               Suite 213
               Sandy Springs, GA
               30328-4402                                6/27/2023 for pre-Petition consultations                      6/27/2023                  $1,827.50

               Email or website address
               paul.marr@marrlegal.com

               Who made the payment, if not debtor?
               Stephen Hatch



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To
      14.1.    2370 Justin Trail                                                                                   3/2019 - 3/2023
               Alpharetta, GA 30004

Part 8:       Health Care Bankruptcies


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
             Case 23-56969-lrc                Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                   Desc Main
                                                          Document     Page 25 of 35
Debtor      Hatch and Company, Inc.                                                              Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
             Case 23-56969-lrc               Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                  Desc Main
                                                         Document     Page 26 of 35
Debtor      Hatch and Company, Inc.                                                             Case number (if known)



      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      McFarlane Land Ent. North LLC                         Stephen and Sheika                    outside storage of large                      No
      Alpharetta 400 Storage                                Hatch, 1695 Novble Drive              equipment                                     Yes
      PO Box 1078                                           NE, Atlanta, GA 30306
      Suwanee, GA 30024                                     Ken Loeffler, 5160
                                                            Prancing Pass, Cumming,
                                                            GA 30040



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
             Case 23-56969-lrc               Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                    Desc Main
                                                         Document     Page 27 of 35
Debtor      Hatch and Company, Inc.                                                             Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Richard A. Luna
                    Richard A. Luna & Associates, LLC
                    P.O. Box 412 Buford GA
                    Buford, GA 30515
      26a.2.        Laura Ruel                                                                                                         employed 3/11/2019
                    5125 Pinto Pass                                                                                                    - 1/30/2023
                    Cumming, GA 30040
      26a.3.        Lorraine Hatch                                                                                                     1/30/2023 forward
                    1695 Noble Drive NE
                    Atlanta, GA 30306

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Hatch and Company, Inc.
                    Stephen and Sheika Hatch
                    1695 Noble Drive NE
                    Atlanta, GA 30306

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Sheika Lorraine Hatch                   1695 Noble Drive NE                                 CEO                                           51%
                                              Atlanta, GA 30306


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 7
             Case 23-56969-lrc              Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                                Desc Main
                                                        Document     Page 28 of 35
Debtor      Hatch and Company, Inc.                                                            Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Stephen Thomas Hatch                   1695 Noble Drive NE                                 CFO, Secretary                          49%
                                             Atlanta, GA 30306



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      during the 365
      .    Stephen Thomas Hatch                       the debtor paid for Mr. Hatch's cell phone                day
             1695 Noble Drive                         and gasoline charges in the total amount                  pre-petition        owner/officer
             Atlanta, GA 30306                        of approximately $2,500.00                                period              benefit

             Relationship to debtor
             CFO, Secretary, shareholder


      30.2                                            $2,277.11 compensation plus the debtor                    during the 365
      .    Sheika Lorraine Hatch                      paid for Ms. Hatch's cell phone and                       day                 compensation
             1695 Noble Drive                         gasoline charges in the total amount of                   pre-petition        plus owner/officer
             Atlanta, GA 30306                        approximately $2,500.00                                   period              benefit

             Relationship to debtor
             CEO, shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
             Case 23-56969-lrc               Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                            Desc Main
                                                          Document     Page 29 of 35
Debtor      Hatch and Company, Inc.                                                             Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 24, 2023

/s/ Stephen Thomas Hatch                                        Stephen Thomas Hatch
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
              Case 23-56969-lrc                Doc 1          Filed 07/24/23 Entered 07/24/23 15:38:51                           Desc Main
                                                              Document     Page 30 of 35
B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                  Northern District of Georgia, Atlanta Division
 In re       Hatch and Company, Inc.                                                                          Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.    $     1,783.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify):        Stephen Hatch

4.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):        Debtor and/or Stephen Hatch

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              representation of the debtor(s) in adversary proceedings.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 24, 2023                                                            /s/ Paul Reece Marr GA Bar #
     Date                                                                     Paul Reece Marr GA Bar # 471230
                                                                              Signature of Attorney
                                                                              Paul Reece Marr, P.C.
                                                                              6075 Barfield Road
                                                                              Suite 213
                                                                              Sandy Springs, GA 30328-4402
                                                                              (770) 984-2255 Fax: (678) 623-5109
                                                                              paul.marr@marrlegal.com
                                                                              Name of law firm
           Case 23-56969-lrc                 Doc 1        Filed 07/24/23 Entered 07/24/23 15:38:51                                     Desc Main
                                                          Document     Page 31 of 35
                                                      United States Bankruptcy Court
                                                Northern District of Georgia, Atlanta Division
 In re    Hatch and Company, Inc.                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Sheika Lorraine Hatch                                                             51%
1695 Noble Drive NE
Atlanta, GA 30306

Stephen Thomas Hatch                                                              49%
1695 Noble Drive NE
Atlanta, GA 30306


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CFO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 24, 2023                                                       Signature /s/ Stephen Thomas Hatch
                                                                                        Stephen Thomas Hatch

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
          Case 23-56969-lrc            Doc 1       Filed 07/24/23 Entered 07/24/23 15:38:51                        Desc Main
                                                   Document     Page 32 of 35




                                               United States Bankruptcy Court
                                          Northern District of Georgia, Atlanta Division
 In re   Hatch and Company, Inc.                                                                 Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     July 24, 2023                                  /s/ Stephen Thomas Hatch
                                                         Stephen Thomas Hatch/CFO
                                                         Signer/Title
    Case 23-56969-lrc   Doc 1   Filed 07/24/23 Entered 07/24/23 15:38:51   Desc Main
                                Document     Page 33 of 35


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                         2370 Justin LLC
                         Attn: Sarah Guaracino, Manager
                         2370 Justin Trail
                         Alpharetta, GA 30004



                         American Express
                         PO Box 981535
                         El Paso, TX 79998-1535



                         Bank of America
                         PO Box 660441
                         Dallas, TX 75266-0441



                         Duffy Companies, LLC
                         Attn: Mary Guaracino
                         6280 Polo Drive
                         Cumming, GA 30040



                         Live Oak Banking Company
                         James S. Mahan III; CEO
                         1741 Tiburon Drive
                         Wilmington, NC 28403



                         McFarlane Land Ent. North LLC
                         Alpharetta 400 Storage
                         PO Box 1078
                         Suwanee, GA 30024



                         Oakmont Capital Holdings LLC
                         Joe Leonard, CEO
                         600 Willowbrook Lane; Ste 601
                         West Chester, PA 19382



                         Sheika Lorraine Hatch
                         1695 Noble Drive NE
                         Atlanta, GA 30306
Case 23-56969-lrc   Doc 1   Filed 07/24/23 Entered 07/24/23 15:38:51   Desc Main
                            Document     Page 34 of 35



                     Stephen Thomas Hatch
                     1695 Noble Drive NE
                     Atlanta, GA 30306



                     U.S. Small Business Admin.
                     GA District Office
                     233 Peachtree Street NE; #300
                     Atlanta, GA 30303



                     Wex Bank
                     PO Box 639
                     Portland, ME 04104



                     Wex Bank
                     1 Hancock Street
                     Portland, ME 04101
         Case 23-56969-lrc         Doc 1    Filed 07/24/23 Entered 07/24/23 15:38:51                 Desc Main
                                            Document     Page 35 of 35



                                         United States Bankruptcy Court
                                    Northern District of Georgia, Atlanta Division
 In re   Hatch and Company, Inc.                                                    Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hatch and Company, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 24, 2023                                  /s/ Paul Reece Marr GA Bar #
Date                                           Paul Reece Marr GA Bar # 471230
                                               Signature of Attorney or Litigant
                                               Counsel for Hatch and Company, Inc.
                                               Paul Reece Marr, P.C.
                                               6075 Barfield Road
                                               Suite 213
                                               Sandy Springs, GA 30328-4402
                                               (770) 984-2255 Fax:(678) 623-5109
                                               paul.marr@marrlegal.com
